Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 1of 22

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF BRONX

ena ehcnncnunannnennnnnnnnnncnmnenennnnnnnn x INDEX NUMBER CV-05361-23/BX
SYNCHRONY BANK
FILE NO, G1 756067
PLAINTIFF,
_AGAINST- AFFIRMATION IN OPPOSITION

TO THE MOTION TO DISMISS
ERIKA N WILSON

DEFENDANT.

Christopher Pavjik, Esq., hereby subscribes and affirms that:

1; I am an attorney with Selip & Stylianou, LLP, attorneys for Synchrony Bank
(hereinafter the Plaintiff”) herein, and as such, 1 am fully familiar with the facts and circumstances
of this matter, based upon my review of the file maintained by this office, which contents I believe
to be true and accurate.

Bi Plaintiff submits this Affirmation in Opposition to the Motion to Dismiss of ERIKA
N WILSON (hereinafter the “Defendant’)} currently returnable January |1, 2024, which seeks to

dismiss this court action.

PROCEDURAL HISTORY

3, This action was commenced by Plaintiff in an effort to collect monies owed by
Defendant as further detailed in the Complaint. Copies of the Summons and Complaint are annexed
hereto as Exhibit “A”. A copy of the Affidavit of Service of the process server (hereinafter the
“Affidavit of Service”) is annexed hereto as Exhibit “B”,

4. Defendant joined this issue by filing an answer with the court that was dated August

21,2023. A copy of the answer is annexed hereto as Exhibit “C”.
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 2of 22,

STANDARD FOR A MOTION TO DISMISS
>, “A Motion to Dismiss may not be made on just any ground at all; it must find
authority somewhere. CPLR 321 1(a) is the principal somewhere, listing the various grounds on
which a dismissal motion may be predicated.” David D. Siegel, New York Practice §258 (5" ed.
2011).

6. It should be noted, that a Motion to Dismiss a Case pursuant to CPLR § 3211 (a) has
certain provisions that set forth the basis of filing such a motion:

NY CPLR § 3211: “(a) Motion to dismiss cause of action. A party may move for judgment

dismissing one or more causes of action asserted against him on the ground that:
1. a defense is founded upon documentary evidence; or
2, the court has not jurisdiction of the subject matter of the cause of action; or
3, the party asserting the cause of action has not legal capacity to sue; or
4, there is another action pending between the same parties for the same cause of
action in a court of any state or the United States; the court need not dismiss upon
this ground but may make such order as justice requires; or
5, the cause of action may not be maintained because of arbitration and award,
collateral estoppel, discharge in bankruptcy, infancy or other disability of the moving
party, payment, release, res judicata, statute of limitations, or statute of frauds; or
6. with respect to a counterclaim, it may not properly be interposed in the action; or
7. the pleading fails to state a cause of action; or
8. the court has not jurisdiction of the person of the defendant; or
9. the court has not jurisdiction in an action where service was made under section
314 or 315; or
10. the court should not proceed in the absence of a person who should be a party.
1 1. the party is immune from liability pursuant to section seven hundred twenty-a of
the not-for-profit corporation law. Presumptive evidence of the status of the
corporation, association, organization or trust under section 501(c)(3) of the internal
revenue code may consist of production of a letter from the United States internal
revenue service reciting such determination on a preliminary or final basis or
production of an official publication of the internal revenue service listing the
corporation, association, organization or trust as an organization described in such
section, and presumptive evidence of uncompensated status of the defendant may
consist of an affidavit of the chief financial officer of the corporation, association,
organization or trust. On a motion by a defendant based upon this paragraph the
court shall determine whether such defendant is entitled to the benefit of section
seven hundred twenty-a of the not-for-profit corporation law or subdivision six of
section 20.09 of the arts and cultural affairs law and, if it so finds, whether there is
a reasonable probability that the specific conduct of such defendant alleged
‘Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 3 of 22:

constitutes gross negligence or was intended to cause the resulting harm. [fthe court
finds that the defendant is entitled to the benefits of that section and does not find
reasonable probability of gross negligence or intentional harm, it shall dismiss the
cause of action as to such defendant.” Please see NY CPLR § 3211 (a).

Defendant was Served in accordance with CPLR 308(2)

he Defendant claims that she was not served in this instant matter and therefore she is
seeking to have this matter dismissed pursuant to CPLR § 3211(a)(8). Nevertheless, this Motion
should be denied, because the Defendant has not demonstrated that this Court lacks jurisdiction over
this matter.

8. The process server's Affidavit constitutes prima facie evidence of proper service

and the movant's conclusory denial of receipt of the summons and complaint is insufficient to

raise any issue of fact. Sando Realty Corp. v. Aris, 209 A.D.2d 682, 619 N.Y.8.2d 140 (2d Dept.

1994).

9. New York Courts have found that a party that wishes to challenge the affidavit of
Plaintiff’s service, she must do so by providing evidence noting its deficiency with specificity since
a process server’s sworn affidavit of service constitutes prima facie evidence of proper service.

Bidetti v. Salter, 108 A.D.2d 890, 485 N.Y.8.2d 772 (2nd Dept. 1985). To rebut the prima facie

evidence, the Defendant must meet his burden of proof. A mere claim of improper service without
specifically stating the particulars of why service is improper is insufficient to rebut an affidavit of

service. Doe v. Zeder, 5 Mise.3d 574, 782 N.Y.8.2d 349 (2004); Kaywood v. Cigpak, 258 A.D.2d

623, 685 N.Y.8.2d 770 (2nd Dept. 1998): Manhattan Savings Bank v. Kohen, 231 A.D.2d 499, 647
N.Y.8.2d 256 (2nd Dept. 1996).
10. Service of process pursuant to NY CPLR § 308(2) may be deemed proper when the

summons and complaint is delivered to a person of suitable age and discretion when that individual
‘Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 4 of 22:

answers the door of the Defendant's residence, but does not reside at that premises themselves. See

Bank of N.Y. v. Espejo, 92 AD3d 707 (2" Dept 2012); and U.S. Bank N.A. v. Olatunji, 189 AD3d

494 (1* Dept 2020).

11. Plaintiff respectfully points out that, attached hereto is an Affidavit of Service from
a process server attesting to service on the Defendant pursuant to CPLR § 308 (2) by substituted
service. Valid service of process pursuant to NY CPLR § 308(2) does not require that the summons
and complaint be personally delivered to the defendant. Additionally, CPLR § 308(2) does not
mandate that the process server verify and/or demand proof of the identity of the individual being
delivered the summons and complaint pursuant to this type of service of process.

12: As previously mentioned, the Defendant denies that she was ever served with the

a

summons and complaint in this matter. Defendant also seems to provide an affidavit for her mother

whereby defendant’s mother claims that the summons and complaint was not delivered to her,
Defendant’s affidavit as well as her mother’s affidavit indicate that she could not have been present
at the residence af the time the summons and complaint was actually delivered - due a very personal
issue. Plaintiff's counsel does sincerely and respectfully hope that the this personal issue has since
resolved and hopes that the Defendant and her child are doing Well.

13. However, service of process was effectuated in this matter by substituted service upon
an individual that answered the door. New York Courts have determined that the summons and
complaint can be delivered to anon-resident who answers the door, Also, Defendant does not deny

she resides at the address where service of process was effectuated,

Discussion of the Process Server

14, Defendant's motion to dismiss contains a Declaration from a third party that appears
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 5 of 22,

to be and allegedly is an expert witness. Defendant asserts this declaration was part of Case for the

a federal case known as Sykes v. Mel Harris and Associates. LLC, 285 F.R.D. 279 (S.D.N.Y 2012).

Said declaration is affixed as Exhibit ‘““D” to the Defendant’s motion to dismiss. Plaintiff
respectfully submits that as asserted by the Defendant this Declaration is part of the aforementioned
federal case, but this Declaration and the information contained within same is simply not relevant
to this instant matter even though the process server is connected to that particular federal case.
Upon information and belief, it does not appear that the Defendant was a party to the aforementioned
federal case. Plus, the aforementioned federal case was decided more than /0 pears ago and the
service of the summons and complaint in this instant matter is not related to this previous federal
matter.

15, Additionally, it should be noted, this Declaration appears to have been submitted in
further support of that particular federal plaintiff's motion/action in the aforementioned federal case.
Therefore, it may be implied that this declarant has a bias in favor of that federal plaintiff - which
cannot be challenged or examined by this Plaintiff and/or Plaintiff's counsel.

16. Furthermore, process server attests that on June 8, 2023, the summons and complaint
for this case was delivered on June 8, 2023 @ 3:16 PM at the defendant’s residence. See Exhibit
A,

17. Defendant apparently raises an issue in terms of the process server conducting his
business as a process server by suggesting that the process server could not have delivered the
summons and complaint for an unrelated matter on June 8, 2023 to an address of 640 Adee Ave,
Bronx, New York and thereafter delivered a summons and complaint for another unrelated matter
on the same day to an address of 2304 Matthews Ave, Bronx, New York within time frames as set

by those affidavits of service. Defendant also raises an issue with the summons and complaint being
‘Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 6 of 22,

delivered fora different unrelated matter to an address on June 17, 2023 to 4356 Grace Ave, Bronx,
New York and thereafter delivery of a summons and complaint for yet another unrelated matter on
the same day to an address of 3916 Harper Ave, Bronx, New York within time frames as set by
those particular affidavits of service.

18, The Affirmant respectfully and humbly submits that he is Not an expert in terms of
the business of being a process server. Jt should be noted, that Plaintiff's counsel is unaware if
defense counsel is himself an expert in terms of the business of being a process server. Defendant
relies on Google maps to bolster the defendant's position, however, it can be implied that the travel
times between certain addresses as provided by Google maps are not always going to reflect the same
travel time for each and every day especially since travel time can be effected by several factors such
as weather, construction, traffic or lack thereof, etc.

19. It also seems the Defendant has made certain implications as well as assumptions
about the manner in which the process server conducts his business of being a process server. An
example ofan implication and/or assumption by the Defendant is that the process server would need
to locate the correct apartment/unit in order to deliver the summons and complaint, however,
Defendant cannot say for certain that the process server is completely unfamiliar with the
building(s)/residence(s) that he is attempting to effectuate service of process for those unrelated
matters,

20. Plaintiff respectfully submits that only the process server knows the exact way and
manner in which he conducts his business of being a process server in this instant matter as well as
the other unrelated matters. It may be implied that as this process server has been engaged in the
business of being a process server for several years, that said process server has developed certain

methods and processes in order to better perfect the way he engages in the business of being a
‘Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 7 of 22,

process server.
21. It should also be noted, the Defendant does not definitely deny that this is her credit
account in her affidavit affixed to this instant application. Plaintiff does appreciate the zeal and
diligence of the Defendant in this instant motion, however, based upon the foregoing, the
defendant’s motion to dismiss should be denied.
WHEREFORE, Defendant's Motion should be denied in its entirety, and that the Plaintiff
be granted such other, further and different relief as this Court may deem just and proper.

[ affirm this |9 day of Saw ey ; gen under the penalties of perjury under the laws of

New York, which may include a fine or imprisonment, that the foregoing ts true, and I understand

that this document will be filed in an action in a court of law.

Dated: Woodbury, New York

Christopher Pavlik, Esq.

Selip & Stylianou, LLP

Attorneys for Plaintiff

199 Crossways Park Drive
Woodbury, New York 11797-2016
(516) 364-6006

TO: MATT SCHEDLER, Esa.
Attorney for Defendant
CAMBA LEGAL SERVICES
20 SNYDER AVENUE
BROOKLYN, NY 11226
‘Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 8 of 22.
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 9 of 22,

CONSUMER CREDIT TRANSACTION
IMPORTANT!! YOU ARE BEING SUED!! THIS IS A COURT PAPER - A
SUMMONS DON'T THROW IT AWAY!! TALK TO A LAWYER RIGHT AWAY!
PART OF YOUR PAY CAN BE TAKEN FROM YOU (GARNISHED). 1F YOU DO
NOT BRING THIS TO COURT, OR SEE A LAWYER, YOUR PROPERTY CAN BE
TAKEN AND YOUR CREDIT RATING CAN BE HURT!! YOU MAY HAVE TO
PAY OTHER COSTS TOO!! IF YOU CAN'T PAY FOR YOUR OWN LAWYER
BRING THESE PAPERS TO THIS COURT RIGHT AWAY. THE CLERK
(PERSONAL APPEARANCE) WILL HELP YOU!! THIS COMMUNICATION [S$
FROM A DEBT COLLECTOR AND IS AN ATTEMPT TO COLLECT A DEBT.
ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

CIVIL COURT OF THE CITY GF NEW YORE
COUNTY OF BRONX
-- mene INDEX NUMBER:

SYNCHRONY BANK $&:5 FILE NO, G1756067 (S064
PLAINTIFF,
-AGAINST- SUMMONS
ERIKA N WILSON Plaintiff's address: 170 ELECTION RD SUITE 125,
DEFENDANT. DRAPER, UT 84020

The Basis of the Venue Designated is Defendant's
Residence
TO THE ABOVE NAMED DEFENDANT(S); YOU ARE HEREBY SUMMONED to appear in
the CIVIL COURT OF THE CITY OF NEW YORK, COUNTY OF BRONX at the office of the
clerk of the said Court at 851 GRAND CONCOURSE, BRONX, NY 10441, in the City and State
of New York, within the time provided by law as noted below and to file your answer to the annexed
complaint with the clerk: wpon your failure to answer, judgment will be taken against you for the
sum of $6,743.15 with costs and disbursements of this action. re E PAID

Dated: May 03, 2023

Selip & Stylianou, LLP, Attorneys for Plaintiff

P.O, Box 9004, 199 Crossways Park Dr,, Woodbury, NY 11797-9004 MAY 3.0 2023
(516) 364-6006 ext. $99]; (866) 848-8975 ext. 8991; TTY/TRS: (516) 422-8500

Refer to S&S File No. G1756067 CIVIL COURT

Note: the law provides that (a) if this summons is served by its delivery ta you persian GOU NTY
City of New York, you must appear and answer within twenty days after such service; or (b) if this

summons is served by delivery to any person other than you personally, or is served outside the City

af New York, or by publication, or by any means other than personal delivery to you within the City

of New York, you are allowed thirty days afer the proof of scrvice thereof is filed with the clerk of

this Court within which to appear and answer.

Defendant to be served:
ERIKA N WILSON, 3540 DECATUR AVE APT 1G, BRONX, NY 10467

By: Me s

LEU U0 EL DONNA ® TEA E89,
AE 0 1

i
é

J

* 90994 *
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 10of 22

TRANSACCION DE CREDITO DEL CONSUMIDOR
IMPORTANTE! UD.HA SIDO DEMANDADO! ESTE ES UN DOCUMENTO
LEGAL - UNA CITACION NO LA BOTE!] CONSULTE CON SU ABOGADO
ENSEGUIDA! LE PUEDEN QUITAR PARTE DE SU SALARIO (EMBARGARLO).
STUD. NO SE PRESENTA EN LA CORTE CON ESTA CITACION LE PUEDIIN
CONFISCAR 8U8 BIENES, (PROPIEDAD) Y PERJUDICAR SU CREDITO!
TAMBIEN ES POSIBLE QUE TENGA QUE PAGAR OTROS GASTOS LEGALES
(COSTOS ADDICIONALES)! SI UD. NO TIENT DINERO PARA UN ABOGADO
TRAIGA ESTOS PAPELES A LA CORTE INMEDIATAMENTE. VENGA EN
PERSONA Y EL SECRETARIO DE LA CORTE LE AYUDARA. ESTA
COMUNICACION ES DE UN COBRADOR DE DEUDAS Y ES UN INTENTO DE
COBRAR UNA DEUDA, CUALQUIER INFORMACION OBTENIDA SERA
UTILIZADA PARA ESE PROPOSITO,

CORTE CIVIL DE LA CIDUDAD DE NUEVA YORK
CONDADO DE BRONX

cee nnneeeee INDEX NUMBER:
SYNCHRONY BANE 8&8 FILE NO, G1756067
DEMANDANTE,
-VS.- CITACION
ERIEA N WILSON La direccion del demandante: 170 ELECTION RD

DEMANDADO. SUITE 125, DRAPER, UT 84020

La Razon de Haber Designado esta Corte es la

Residencia de] Demandado
AL DEMANDADO ARRIBA MENCIONADO; USTED ESTA CITADO A COMPARECER EN
LA CORTE CIVIL DE LA CIUDAD DE NUEVA YORK, CONDADO DE BRONX a la oficina
de] jefe principal de dicha Corte en 851 GRAND CONCOURSE, BRONX, NY 10451 en el
Condado de BRONX, Ciudad y Estado de Nueva York, dentro del tiempo provisto por la ley segun
abajo indicada y a presentar su respuesta a la demanda anexada al jefe de la Corte; si usted no
comparece a contestar se dietara sentencia contra usted en Ja suma de $6,743.15 incluyendo los
costos de esta accion,

Fechado: May 03, 2023

Selip & Styhanou, LLP, Attorneys for Plaintiff, Abogados del Demandante
P.O. Box 9004, 199 Crossways Park Dr., Woodbury, NY 11797-9004

(516) 364-6006 ext. 8991; (866) 848-8975 ext. 8991; TTY/TRS: (516) 422-8500
Refer to S&S File No, G1756067

Nota: la ley provee que: (a) si esta cilacion es entregada a usted personalmente en la Ciudad de
Nueva York, usted debe comparecer y responderla dentro de veinte dias despues de la entrega; 6 (b)
si esla cilacion es entregada a otra persona que no fuera usted personalmente o si fuera entregada
afuera de Ja Ciudad de Nueva York, o por medio de publicacion, o por otras medios que no fueran
entrega personal a usted en la Ciudad de Nueva York, usted tiene treinta dias para comparecer y
responder Ja demanda, despues de haberse presentado prueba de entrega de Ja citacion al jefe de esta
Corte.

Demandado citado:
ERIKA N WILSON, 3540 DECATUR AVE APT 1G, BRONX, NY 10467
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 11of 22

CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
SYNCHRONY BANE
PLAINTIFF, INDEX NUMBER:
-AGAINST- S&S FILE NO. G1756067
ERIKA N WILSON COMPLAINT
DEFENDANT.

Plaintiff, by its attorneys, complaining of the Defendant(s), respectfully alleges that:

}, Plaintiff is 2 savings bank organized pursuant to federal law, Plaintiff is a direct ereditor and nota
debt purchaser, and as such is not required to be licensed by the NYC DWCP.

2. Upon information and belief, the Defendant(s) resides or has an office in the venue in which this
action Is brought, or the Defendant(s) transacted business within the venue in which this action is brought,
either in person or through an agent, and the instant cause of action arose out of said transaction.

3. Based upon a reasonable inquiry, the Statute of Limitations for the causes of action asserted
herein has not expired.

FACTS

4. A CareCredit-branded revolving credit account (hereafter the "Account") was opened in
Defendant's name, subject to the terms and conditions provided, or made available in electronic format, to the
Defendant (the "Agreement"). A copy of the charge-off statement is attached hereto. Plaintiff is the original
creditor (as defined in NY CPLR § 104(q-1)) and owner of the Account,

5. Defendant used the Account and incurred a balance. The last four digits of the Account umber
on the most recent monthly statement recording a purchase transaction, last payment, or balance transfer (the
"Last Activity Statement") are 6252, and the balance owed as set forth in the Last Activity Statement was
$5,774.76,

6 Defendant breached the terms of the Agreement by failing to make (he agreed-upon payments
when due.

7. Demand for payment of the Account was made on Defendant, but Defendant failed to make all
the required payments. The Defendant's last payment was made on or about April 19, 2021 in the amount of
$221.00.

& Asaresult of Defendant's default, the Plaintiff closed the Account and subsequently charged it off
on November 15, 2021 in the amount of $6,743.15, as reflected in the attached statement.

9. The balance currently due and owing is $6,743.15, itemized as follows:
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 12 of 22

Balance due at time of charge-off: $6,743.15
Plus total amount of interest accrued since charge-off: $0.00
Plus total amount of non-interest charges or fees since charge-off- 30.00
Plus total amount of dishonored payments: $0.00
Less total amount of payments and/or credits since charge-off: 30.00

AS AND FOR A FIRST CAUSE OF ACTION
10. Plaingff repeats and realleges each and every allegation contained in the foregoing paragraphs as
if more fully set for herein.
ll, Asaresult of Defendant's breach of the Agreement, and after crediting Defendant for all
payments and credits, there is now due and owing by Defendant to Plaintiff the sum of $6,743.15, no part of

which has been paid despite due demand therefor,

WHEREFORE, Plaintiff demands judgment against Defendant(s) in the amount of $6,743.15 together with
costs and disbursements.

The undersigned attorney hereby certifies that, to the best of his/her knowledge, information, and belicf,
formed after an inquiry reasonable under the circumstances, the presentation of the within complaint and the

contentions therein arc not frivolous as defined in part 130-1.1(c) of the rules of the Chief Administrator.

Dated: MAY 03, 2023

YOURS, E

By:
DONNA-A“CIAMPA ESO,

Selip & Stylianou, LLP, Attorneys for Plaintiff

199 Crossways Park Drive, Woodbury, NY 11797-9004
(516) 686-8991; (866) 848-8975 ext. 8991;

S&8 File No. G1756067

Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 13 of 22

CARECREGIT/SYNCHRONY BANK Bauea bl & wee
' sales W i Wilaeus tb
Summary of Account Activity — Payment Information
Provious Balnnco $6,703,175 || New Golance $0.00
+ New Purchases so,co || Total Minknunt Payment Bue $1,863,00
Payments £0.00 | | Paymari Duc Dato TWA17f2021
#/- Crodita, Foos & Adjusimonis (nol) (36,703.15) PAYMENT DUE BY 5 P.M; EASTERN ON THE OUE GATE.
He Intareal Charge (hat) $0.00 || We may canvart your paymont Inte an olactronie debi, Seo
Now Balanee $0,00| | revarse sido,
Crnail Limit $4,200.00
Avallatla Credil §0,00 || Late Payment Warning: if we do rel reeolva your Tolnl
Minium Payment Dua by the Payment Due Date Haled above,
G. Billi
aye tn ulin Period an yau moby have le pay 9 late fee up io £40.00,
Pay online for free at: mysynchrony.com
For Synehrany Bank customer servico or to ropert your
card lost or stalon, call (1-806-803-7804),
Bast tlmos to callare Wednesday - Friday,

Transaction Summary

Tran Date Pest Dato Reloronco Numbar Dascription Amount
15/2074 1452021 «© FANF2OORZ0ONReRHO CHARGE GFF ACGOUNT-PRINGIPALS (£3,100,72)
14/15/2021 14/45/2021 = Fan7acapZ00NseH8D CHARGE OFF ACCOUNT-INTEREST ($3,642.43)
CHARGE
FRES
11/10/2024 402021 LATE FEE $40.00
TOTAL FEES FOR THIS PERIOD $40.00
INTEREST CHARGED
TS202) | 1115/2021 INTEREST CHARGE ON PURCHASES 0,00
TOTAL INTEREST FOR THIS PERIOD $0.00)
: . +, 2021 Totala Year-to-Date
Tolal Feas Chargod in 2024 3440,00)
Tolal Interest Charged in 2021 F2,692.10
[Tolal Inlavwal Paid in 2024 30.00

Interest Charge Caleulation™ i : i Se oh

Expiration Date Annual Balance Subjecito | interes! Charga
Type af Balonea Porcontoge Intarogt ale
Rato (APR)
Purchoses HA 26.00% 50,00 $0.00

Cardholder News & Information Ere ‘ i .

In erdar 16 projec your account privacy, wa ora Unoble to provide account Information to anyono olhor than the cordholder(s) or
an authorlzed party. If you wish to permit us lo speak lo an qulhoriznd party such as a spouse aboul your neeounl, pleaso sond
willlan aulhoilzallon to the General Inquiries oddress.

You con pay your bill online or ovar tho phone. Wo nalicad you've bran anjoying our easy paperless paymen! options, so wo
wiilino longor be including ralurn anvelopes. You can moke things avon ooaior by salocling Ihe paparioad alotement epllon ef
your aceaunl onfine,

Slatement nat provided to custornar,

"NOTICE: Soo rovorae aide ond oddillonal pagas (if any) for Impariant lnfernmation cencoming your account,

5102 ors i 301s 2biais 2X PAGE 1 of 3 0077 3400 CeK2 oiDGsioz

Pay onkna al mydyndivany eet oF enclose this ctupon wih your chock. Mleote use blue oe Diack Ink.

Tein! Mlalium Past Bue Payment, - Haw ‘dccaunt Number -
Payinaut Biie Amount Que Bate . Balance 3 t
97,802.00 §0,00 Ti F021 $6.00

Paymant Encloned : CELL] LJ i WO

Nowaddress cra-mall? = Payrhan| duo Includes 30,00 poel duo, Ploage poy the patt dud amount! PROMPTLY.
Chock tha box at lef and
print changes on bask

ERIKA N WILSON
d540 DECATUR AVE APT 1G

BRONX N¥ 10467-1794 dake Paymonl ta) SYNCHRONY BANK

PO BOX 860001
ORLANDO, FL 32695-0064
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 14 of 22
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 15 of 22

CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX

UCIT

AFFIDAVIT OF SERVICE #98994%
Tndex no : CV¥-0536]-23/BX
Date Index Number Purchased: 05/30/2023

Plauitiff(s): SYNCHRONY BANE
VS,

Defendant(s): ERIKA N WILSON

STATE OF NEW YORE

COUNTY OF WESTCHESTER $5.:

BENJAMIN LAME, the undersigned, being duly sworn, depases and says:
Tam over the ape of 18 years and not a party to the action. [reside in the state of New York.

On 06/08/2023 at 3:16 PM, I] served the within SUMMONS AND COMPLAINT with the index#C¥-05361-23/BX
endorsed thereon on ERIKA N WILSON at 3540 DECATUR AVE APT 1G , BRONX, NY 10467 in the manner

indicated below:

SUITABLE AGE: by delivering thereat a tue copy of each to Chante Wilson, Co-Resident of ERIKA N WILSON,
a person of suitable age and discretion. Said premises is WRIKA N WILSON's usual place of abode within the state.

On 06/16/2023, deponent enclosed a copy of same in a first class postpaicl envelope bearing the words "Personal &
Confidential" properly addressed to defendant and defendant's last known residence, at 3840 DECATUR AVE APT
1G, BRONX, NY 10467 and deposited said envelope in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, The envelope did not indicate on the outside thereof, by return address
or otherwise, that the communication was from an attorney or concemed an action against the defendant.

A description of the Recipient, or other person served on behalf of the Recipient is as follows:

Sex Color of skin Color of hair Age Height Weight
Female Black Black 25 Sft 4in ~ Sft Gin 131-160

Other Features;

lasked the person spoken to whether he/she Defendant was in the active military service of the United States or of the
State of New York in any capacity whatever and received a negative reply. The source of my information and belief are
the conversations above narrated. Upon information and belief I aver that the recipient is not in the military service of
New York State or of the United States as thal term Is defined in either the State or in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 06/16/2023 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELGPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3540
DECATUR AVE APT 1G, BRONX, NY 10467 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL" AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED DEBT. i

Sworn to and subscribed before me on 06/16/2023 x_ Jy = -

BENJAMIN LAMB

License#: 1071492

VM, ton fon-r J and E Process Service, Inc
Pr

901 North Broadway Ste 18

~

Melissa A. Cyran

Notary Public, State Of New York N. White Plains, NY 10603
No. O1CY6228619 914-328-1069

Qualified in WESTCHESTER DCA Licenseft: 2027471
Commission Expires 9/27/26 Branch: White Plains

Atty File##: G1756067
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 16 of 22

Dawn Diforio

From: edds@nycourts.qov

Sent: Wednesday, June 21, 2023 2:31 PM

To: edds@nycourts.gov; Dawn Diforio

Subject: EDDS DOCUMENT(S) FILED: Bronx County Civil Court (EDDS) - General Civile AFFIDAVIT
OF SERVICE-=>

Bronx County Civil Court (EDDS)
[=] Notification of Receipt
. 06/21/2023
This is an automated message, please do not reply. For questions about this submission, please refer to
the Receiver Contact Information below.

On 06/21/2023, the EDDS System received the documents listed below from submitter Ellen Eakley,
dawn@jeprocess.com. Please keep this notice for your records.

Sender Information

Document(s) ID} HEBMVV

Case Number; CV-05361-23/BX_

Case Title: Synchrony Bank vs Erika N Wilson

Name: Ellen Eakley

Organization/Agency/Firm Name: J&E Process Services, Ine.
Represented Party: Synchrony Bank

Party Role: Plaintiff

Phone Number: 914-328-1669

Email Address: dawn @jeprocess.com

Reason for Sending Pocurments: COVID 19

Documents Received

i og eam werent

Document © "Received Date

= i : + ht
AFFIDAVIT OF SERVICE- igg/24/2023

Affidavit of Service |

Receiver Contact Information

Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 17 of 22

=,
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Page 18 of 22

CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
SHORE Ra XK

: Index No.: 5361/23
SYNCHRONY BANE

Plaintiff,
— against — ANSWER
ERIKA WILSON,
Defendant(s). i
x

PLEASE TAKE NOTICE that Defendant Erika Wilson, by her attorney, Matthew

Schedler, Esq., Of Counsel to Elizabeth Miller, Esq., CAMBA Legal Services Inc., hereby

interpose the following Verified Answer to the Complaint:

i

Defendant lacks sufficient information to either admit or deny the allegations in
paragraphs 1, 2, anc 3 of the Complaint.

Defendant denies the allegations in paragraph 4 of the Complaint.

Defendant denies the allegations in paragraph 5 of the Complaint,

Defendant denies the allegations in paragraph 6 of the Complaint.

Defendant denies the allegations in paragraph 7 of the Caineu

Defendant denies the allegations in paragraph 8 of the Complaint.

Defendant denies the allegations in paragraph 9 of the Complaint.

Defendant denies the allegations in paragraph 10 of the Complaint.

Defendant denies the allegations in paragraph 11 of the Complaint.

DEFENSES
Page 19 of 22 |:
-29 Filed 05/30/24

-ALC Document 3

Case 1:24-cv-04108

First Affirmative Defense

10, The Court lacks personal Jurisdiction over defendant because she was Nol properly served

in accordance with C.P.L.R, & 308.

Second Affirmative Defense

11, The plaintigr lacks standing to bring this action,

Third Affirmative Defense

12. The defendant does not owe the debt.

Fourth Affirmative Defense —

13. The defendant disputes the amount of the debt.

Fifth Affirmative Defense
14, The defendant ig entitled to an offset ag

ainst the amounts claimed bec
fail

ause of plaintiffs
ure to mitigate its damages,

Sixth Affirmative Defense

15. The statute of limitations hag expired

Prayer for Relief
WHEREFORE, Defendant respectfully asks that the Court:

A. Dismiss the Complaint in its entirety;

B. Award defendant's reasonable costs and attorney fees; and

C. Award such other and further relief as the Court deems just and proper.
te

. 24 Page 200f 22 |)
3-29 Filed 05/30/
. 8-ALC Document
Case 1:24-cv-0410

tn!

Dated: August 21, 2023 a,
Brooklyn, New York C Lae Hite, Ser :

By: Matthew Schedler, Esq., Of Counsel
CAMBA Legal Services, Ine.
Elizabeth Miller, Esq., General Counsel
20 Snyder Avenue
Brooklyn, NY 11226
(718) 940-63] I, ext. 79229
(347) 525-5072
matthewsc@camba.org
Attorneys Tor the Defendant
Filed 05/30/24 Page 21 of 22

Case 1:24-cv-04108-ALC Document 3-29

VERIFICATION

State of New York )
) 88.
County of Kings )

Matters therein stated to be alleged upon information and belief and as to those matters I believe to
be true. The reason this verification ig made by the affirmant and not the Defendant is because the

By: Matthew Schedler, Esq., OF Counsel
Elizabeth Miller, Esq., Executive Director
. CAMBA Legal Services, Inc,
Attorneys for Defendant

885 Flatbush Ave, 2"),

Brooklyn, NY 11226

(718) 940-6311

Attorneys for the Defendant

Dated: August 21,2023
Brooklyn, New York
e 22 of 22
Case 1:24-cv-04108-ALC Document 3-29 Filed 05/30/24 Pag

CIVIL COURT oF THE CITY OF NEw YORK
COUNTY or BRONX

Civil Court of the City of New York, County of Bronx,
Index No.: 5361/23

SYNCHRONY BANK

Plaintiff,
-against-

ERIKA WILSON
Defendant(s),

ANSWER

Signature (Rule 130-1 .l-a)
FeO yi uucciecme gee a

Seay whe,
a
Btn
Priitiiame beneath

Matthew Schedler, Of Counsel

Alfarney for
CAMBA LEGAL, SERVICES, INC,
Elizabeth Miller, Esq., General Counsel
Office and Pos; Office Address, T, elephone
20 Snyder Avenue
Brooklyn, New York ] 1226
718-940-631] ext, 79299

To: Selip and Stylianou, LLP
199 Crossways Park Drive
Woodbury, NY 11797
Attorney(s) for Plaintiff

Service of a copy of the within is hereby admitted,
Dated,

a ss

Attorney(s) for

